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 1   Paul J. Riehle (SBN 115199)                           Glenn D. Pomerantz (SBN 112503)
     paul.riehle@faegredrinker.com                         glenn.pomerantz@mto.com
 2   FAEGRE DRINKER BIDDLE & REATH LLP                     MUNGER, TOLLES & OLSON LLP
     Four Embarcadero Center, 27th Floor                   350 South Grand Avenue, Fiftieth Floor
 3
     San Francisco, CA 94111                               Los Angeles, California 90071
 4   Telephone: (415) 591-7500                             Telephone: (213) 683-9100

 5   Christine A. Varney (pro hac vice)                    Brian C. Rocca (SBN 221576)
     cvarney@cravath.com                                   brian.rocca@morganlewis.com
 6   CRAVATH, SWAINE & MOORE LLP                           MORGAN, LEWIS & BOCKIUS LLP
 7   825 Eighth Avenue                                     One Market, Spear Street Tower
     New York, New York 10019                              San Francisco, CA 94105-1596
 8   Telephone: (212) 474-1000                             Telephone: (415) 442-1000

 9   Counsel for Plaintiff Epic Games, Inc.                Counsel for Defendants Google LLC et al.
10
11   [Additional counsel appear on signature page]

12
13                                 UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15                                      SAN FRANCISCO DIVISION
16                                                      Case No. 3:21-md-02981-JD
      IN RE GOOGLE PLAY STORE
17    ANTITRUST LITIGATION
                                                        JOINT CERTIFICATION OF COUNSEL
18    THIS DOCUMENT RELATES TO:                         REGARDING ADMITTED EXHIBITS
19    Epic Games, Inc. v. Google LLC et al.,            Judge: Hon. James Donato
      Case No. 3:20-cv-05671-JD                         Trial Date: November 6, 2023
20                                                      Time: 9:00 am
                                                        Place: Courtroom 11, 19th Floor
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                         JOINT CERTIFICATION OF COUNSEL REGARDING ADMITTED EXHIBITS
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 1          In compliance with Local Rule 5-1(g)(1)(A), Plaintiff Epic Games, Inc. and Defendants Google
 2   LLC, Google Ireland Limited, Google Commerce Ltd., Google Asia Pacific Pte. Ltd. and Google
 3   Payment Corp. (collectively, the “Parties”) certify that the exhibits listed below and attached hereto
 4   (and, due to the size of the exhibits, to the related docket entries) are true and correct copies of the
 5   admitted exhibits that were submitted to the jury in the above-captioned matters.
 6       Exhibit No.                                Description                               Date Admitted
 7         Exhibit 1         Web page titled “Google Chat Retention Policy”                 November 7, 2023
                             (02/26/2021), available at:
 8
                             https://support.google.com/info-
 9                           gov/answer/9366391?hl=en&ref_topic=10252791
         Exhibit 122         Document titled “Fortnite Task Force” (08/06/2018)            November 15, 2023
10       Exhibit 136         Slide deck titled “Boosting Top Game Developer                November 7, 2023
                             Support
11
                             and Securing Play Distribution on Samsung Devices”
12                           (03/28/2019)

13       Exhibit 142         Email from J. Heurlin to L. Koh re Hello and Follow Up         November 7, 2023
                             (03/27/2019)
14
         Exhibit 148         Email from K. Aviram Beatty to R. Wyatt and L. Koh re          November 7, 2023
15
                             ABK Update - Armin Mtg (11/27/2019)
16
17
         Exhibit 149         Email from L. Koh to M. Marchak re ABK Update -                November 7, 2023
18                           Armin Mtg 11/26 (12/04/2019)

19
         Exhibit 150         Email from L. Koh to M. Marchak re ABK Update                  November 7, 2023
20                           (12/12/2019)
         Exhibit 151         Document titled “Google Strategic Partnership with             November 7, 2023
21                           Activision Blizzard King” (11/18/2020)
22
         Exhibit 153         Document titled “Google Play Games Velocity Program            November 7, 2023
23                           Addendum to the Google Play Developer Distribution
24                           Agreement” (01/25/2020)

25
26       Exhibit 154         Email from L. Koh to B. Bazinski re Riot - Update              November 7, 2023
                             (02/13/2020)
27       Exhibit 155         Email from K. Gambhir to G. Yousling re Riot GVP               November 7, 2023
28                           Call
                             1/23/20 - Next Steps (01/24/2020)


                          JOINT CERTIFICATION OF COUNSEL REGARDING ADMITTED EXHIBITS
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 1   Exhibit No.                          Description                           Date Admitted
 2   Exhibit 156     Email from G. Yousling to L. Koh re Riot & GVP           November 7, 2023
                     (02/18/2020)
 3
     Exhibit 162     Document titled “Games Velocity Program Addendum         November 7, 2023
 4                   to the Google Play Developer Distribution Agreement”
                     (03/09/2020)
 5
 6
     Exhibit 163     Document titled “Google Ads Credits Addendum”            November 7, 2023
 7
                     (06/16/2021)
 8   Exhibit 290     Slide deck titled “Pixel Switching Study” (01/18/2017)   November 15, 2023
 9
     Exhibit 298     Email from A. Rubin to E. Chu re Draft blog post and     November 14, 2023
10                   FAQ for Android Market – Updated version with Erin’s
                     feedback (08/27/2008)
11
12   Exhibit 299     Email from Google Documents [on behalf of E. Chu] to     November 14, 2023
                     E. Chu re Android’s User-Driven Content...
13                   (10/22/2008)
14
     Exhibit 300     Email from N. Shanbhag to E. Chu et al. re Android       November 14, 2023
15                   Market Business Model GPS Notes – 2/3/2009
16                   (02/04/2009)

17
18
19   Exhibit 303     Email from E. Chu to M. Womack re Transaction Fee        November 14, 2023
20                   for Android Market priced apps in Japan (06/30/2009)

21
22   Exhibit 304     Email from J. Mattson to D. Morrill re Change in         November 14, 2023
                     default revenue share (12/17/2009)
23
24   Exhibit 305     Web page titled “Android Developers Blog – Android       November 14, 2023
                     Market: Now available for users” (10/22/2008)
25
     Exhibit 308     Email from M. Stepka to E. Chu re Android                November 14, 2023
26
                     Marketplace Payments – UPDATE (04/24/2009)
27
28

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          Case 3:21-md-02981-JD Document 888 Filed 12/21/23 Page 4 of 26




 1    Exhibit No.                            Description                           Date Admitted
 2    Exhibit 312       Email from J. Lagerling to E. Chu re FW Meeting notes    November 14, 2023
                        from meeting with Eric Chu (08/23/2011)
 3
 4    Exhibit 316       Chat messages between E. Chu and E. Kim                  November 14, 2023
                        (06/07/2020)
 5
      Exhibit 319       Email from E. Chu to G. Prachi re Draft Email to Prep    November 14, 2023
 6                      John (07/31/2020)
 7
      Exhibit 320       Email from E. Chu to P. Gupta re Scott Email for Play-   November 14, 2023
 8                      YT Work Estimation (07/11/2020)

 9
      Exhibit 322       Email from E. Chu to P. Gupta re Boy-Flow/Policy 3-      November 14, 2023
10                      Team Sync (Monday) (06/07/2020)

11
      Exhibit 332       Chat messages between E. Chu and P. Gupta                November 14, 2023
12                      (05/28/2020)
      Exhibit 355       Email from R. Sharif to F. Hu et al. re FOP value        November 7, 2023
13                      (04/23/2019)
14    Exhibit 360       Slide deck titled “Play Value Model: Play BD StratOps”   November 7, 2023
                        (08/08/2019)
15
16    Exhibit 384       Slide deck titled “Games Velocity Program - V1           November 8, 2023
                        Business Impact Assessment. V2 Introduction”
17                      (12/2020)
18    Exhibit 388       Slide deck titled “Project Basecamp – Optionality”       November 8, 2023
                        (04/14/2021)
19   Exhibit 428***     Spreadsheet containing Google Play P&L information       November 27, 2023
20
      Exhibit 433*      Slide deck titled “2021 Annual Plan- Finance Fact Pack   November 14, 2023
21                      Platforms & Ecosystems” (11/06/2020)
22
23    Exhibit 434       Slide deck titled “Play Update @ CFO Council”            November 27, 2023
24                      (09/20/2018)

25    Exhibit 436*      Slide deck titled “Compute - Platform & Ecosystem -      November 15, 2023
                        Devices & Services - Board of Directors Update”
26
                        (01/00/2020)
27
28   Exhibit 440***     Spreadsheet containing Android P&L information           November 27, 2023

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 1   Exhibit No.                          Description                           Date Admitted
 2   Exhibit 588     Email from P. Gennai to A. Kumar re Hiroshi Monthly      November 30, 2023
                     Review: Thursday Next Week (10/21/2021)
 3
 4
 5   Exhibit 591     Untitled document containing Play Problem Statement      November 30, 2023
                     (03/26/2019)
 6   Exhibit 596     Email from P. Gennai to S. Krishnamachari re Play        November 30, 2023
                     Distribution Project (01/12/2019)
 7
 8   Exhibit 606     Document titled “Next Steps With Samsung”                November 30, 2023
                     (05/23/2016)
 9
     Exhibit 617     Slide deck titled “MADA & RSA: Android Commercial        November 13, 2023
10                   Agreements” (08/00/2019)

11
     Exhibit 623     Email from J. Kolotouros to D. Thevenon re rev share     November 13, 2023
12                   agreement with OEMs (07/08/2014)

13
     Exhibit 624     Slide deck titled “Google Distribution on Android        November 13, 2023
14                   Framework” (06/01/2019)

15
     Exhibit 626     Document titled “Google Mobile Revenue Share             November 13, 2023
16                   Agreement” (02/01/2020)
     Exhibit 627     Document titled “Premier Tier Requirements”              November 13, 2023
17                   (05/12/2020)
18   Exhibit 628     Document titled “Partner Info Doc - Oneplus 8 Fortnite   November 13, 2023
                     partnership” (03/27/2020)
19
20   Exhibit 647     Slide deck titled “Android 101” (05/00/2019)             November 13, 2023

21   Exhibit 652     Document titled “Store Agreement Term Sheet”             November 13, 2023
22                   (06/20/2019)
     Exhibit 682     Slide deck titled “Amazon competitor deep dive”          November 13, 2023
23                   (04/00/2017)
24   Exhibit 704     Email from B. Barras to S. Samat re Tinder and Google    November 8, 2023
                     Play Billing [Concern] (06/27/2017)
25   Exhibit 706     Email from S. Samat to H. Lockheimer re Transaction      November 14, 2023
26                   fee update (10/18/2017)
     Exhibit 708     Document titled “Ruminations on Play’s Business          November 13, 2023
27                   model” (08/07/2019)
28

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        Case 3:21-md-02981-JD Document 888 Filed 12/21/23 Page 6 of 26




 1   Exhibit No.                          Description                           Date Admitted
 2   Exhibit 713     Web page titled “Android Developers Blog - Listening     November 9, 2023
                     to Developer Feedback to Improve Google Play”
 3
                     (09/28/2020), available at: https:/landroid-
 4                   developers.googleblog.com/2020109/listening-to-
                     developer-feedback-to.html
 5   Exhibit 761     Email from E. Cunningham to S. Samat re FN Update        November 13, 2023
                     (08/15/2018)
 6
 7   Exhibit 762     Email from D. Kleidermacher to W. Luh re Fortnite        November 15, 2023
                     today (08/15/2018)
 8
     Exhibit 768     Chat messages between E. Liderman and D.                 November 15, 2023
 9                   Kleidermacher (09/25/2020)
     Exhibit 783     Email from J. Kolotouros to H. Lockheimer re Samsung     November 13, 2023
10                   Store Proposal (05/30/2019)
11
     Exhibit 785     Email from J. Kolotouros to S. Samat re Samsung Next     November 13, 2023
12                   Steps (06/06/2019)
13
     Exhibit 787     Email from E. Crosby to J. Kolotouros re Banyan          November 13, 2023
14                   (06/19/2019)
15
     Exhibit 799     Email from J. Lagerling to J. Rosenberg re Wallet and    November 13, 2023
16                   DCB (10/08/2013)
17
     Exhibit 800     Email from J. Rosenberg to S. Kassardjian re DirecTV     November 13, 2023
18                   Status (05/26/2016)
19
     Exhibit 801     Email from J. Rosenberg to P. Kochikar re PLEASE         November 13, 2023
20                   READ: WSJ details (08/27/2013)
21
     Exhibit 805     Slide deck titled “Epic/Fortnite BC Deal Review”         November 8, 2023
22                   (07/19/2018)
23   Exhibit 806     Email from J. Rosenberg to C. Smith re Fortnite Status   November 13, 2023
                     (08/08/2018)
24   Exhibit 812     Email from E. Gass to T. Stone re Update (03/27/2020)    November 30, 2023
25
     Exhibit 813     Email from E. Gass to H. Stolfus re OnePlus Fortnite     November 30, 2023
26                   Solution Update (03/30/2020)
     Exhibit 814     Email from E. Gass to H. Stolfus re Epic Games x         November 30, 2023
27                   Game Space India (06/12/2020)
28

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 1     Exhibit No.                             Description                           Date Admitted
 2     Exhibit 815       Email from C. Yang to K. Shin re Epic Games App            November 30, 2023
                         Collaboration (04/20/2020)
 3
 4     Exhibit 917       Document titled “Response to Epic” (06/23/2018)            November 8, 2023
 5
       Exhibit 939       Slide deck titled “Google Play Business Model”             November 8, 2023
 6                       (08/19/2020)
       Exhibit 949       Email from E. Chu to A. Rubin re [Fwd: Re: 70-30           November 14, 2023
 7
                         worldwide?] (06/07/2009)
 8
      Exhibit 1065       Document titled “Samsung 2020 Mobile Incentive             November 13, 2023
 9
                         Agreement(s)” (11/04/2020)
10
      Exhibit 1172       Email from J. Woloz to B. Bilodeau et al. re Request for   November 15, 2023
11
                         Fortnite Signing keys (08/11/2018)
12
      Exhibit 1231       Email from E. Christensen to S. Buniac re 2020 Google      November 29, 2023
13                       Revenue Search Agreement Summary (Mobile
14                       Incentive Agreement) (02/12/2021)
      Exhibit 1232       Document titled “Mobile Application Distribution           November 29, 2023
15                       Agreement” (01/18/2018)
      Exhibit 1348       Slide deck titled “MagicLab - We build relationships”      November 8, 2023
16
17
      Exhibit 1349       Slide deck titled “Q3/4 Business Review – App Stores       November 8, 2023
18                       Approach” (00/00/2020)
      Exhibit 1351       Slide deck titled “Bumble Q3 2021 Board Meeting”           November 8, 2023
19
                         (11/00/2021)
20    Exhibit 1352       Slide deck titled “Bumble Q2 2021 Board Meeting”           November 8, 2023
                         (08/00/2021)
21    Exhibit 1353       Slide deck titled “Bumble Q4 2021 Board Meeting”           November 8, 2023
                         (02/00/2022)
22    Exhibit 1362       Document titled “Amazon App Developer Key Terms            November 20, 2023
23                       Chart” (01/29/2021)
     Exhibit 1363***     Spreadsheet containing Amazon information                  November 20, 2023
24    Exhibit 1366       Document titled “Amazon Unlocks Coins Discounts for        November 20, 2023
                         All Mobile Gamers” (08/24/2020)
25    Exhibit 1376       Email from T. Sullivan to H. Lockheimer re GMS             November 14, 2023
26                       Update Mechanism (05/18/2011)

27    Exhibit 1378       Email from J. Lagerling to H. Lockheimer re                November 14, 2023
28                       Clarification (01/28/2014)

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                                                     6
         Case 3:21-md-02981-JD Document 888 Filed 12/21/23 Page 8 of 26




 1    Exhibit No.                           Description                           Date Admitted
 2   Exhibit 1380      Email from H. Yoon to H. Lockheimer re Samsung          November 14, 2023
                       Launches Samsung GALAXY Apps (07/11/2014)
 3
 4
 5   Exhibit 1385      Email from M. Murphy to P. Schindler re [BC Approval    November 14, 2023
                       Required] URGENT: Epic Games (07/21/2018)
 6
 7
     Exhibit 1386      Email from S. Newberry to J. Rosenberg re Fortnight     November 14, 2023
 8                     Task Force (08/25/2018)

 9
10   Exhibit 1390*     Slide deck titled “2021 Annual Planning - Platforms &   November 14, 2023
                       Ecosystems” (11/05/2020)
11
12   Exhibit 1391      Chat messages between S. Wojcicki and H. Lockheimer     November 14, 2023
                       (06/23/2020)
13
     Exhibit 1410      Slide deck titled “Project Wichita Update and           November 9, 2023
14                     Discussion Guide” (04/01/2016)

15
     Exhibit 1417      Email from K. Rasanen to S. Samat re Spotify Policy     November 15, 2023
16                     Meeting Notes (10/17/2017)
     Exhibit 1436      Web page titled “Play Console Help – Payments”          November 15, 2023
17
18   Exhibit 1438      Email from K. Rasanen to J. Rosenberg re Update Open    November 15, 2023
                       Questions (09/18/2017)
19
20
     Exhibit 1440      Email from K. Rasanen to J. Rosenberg et al. re GPB     November 15, 2023
21                     Grandfathering Discussions Update (02/07/2018)
22
23   Exhibit 1442      Email from K. Rasanen to P. Feng re Prep Doc for        November 15, 2023
                       Spotify Meeting (11/27/2017)
24
25   Exhibit 1478      Document titled “Riot GVP Deal” (02/15/2020)            November 9, 2023
26
     Exhibit 1483      Email from D. Harrison to M. Murphy re BC Guidance      November 20, 2023
27                     (07/11/2018)
28

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                                                  7
         Case 3:21-md-02981-JD Document 888 Filed 12/21/23 Page 9 of 26




 1    Exhibit No.                            Description                          Date Admitted
 2   Exhibit 1484      Email from D. Harrison to D. Sobota re Strategic        November 20, 2023
                       Rationale (07/16/2018)
 3
 4   Exhibit 1485      Slide deck titled “Project Electra” (07/01/2018)        November 20, 2023
 5
     Exhibit 1492*     Document titled “Amendment to the Information           November 20, 2023
 6                     Services Agreement” (09/30/2016)
 7
     Exhibit 1493      Document titled “Apple Partnership Strategy”            November 20, 2023
 8                     (10/29/2020)

 9
     Exhibit 1496      Slide deck titled “Modular Google Play Billing EAP      November 20, 2023
10                     Pre-BC Exec Review” (07/27/2020)

11
     Exhibit 1515      Email from P. Kochikar to T. Arzu and J. McGuire re     November 8, 2023
12                     Next Steps? (06/23/2018)

13
     Exhibit 1517      Email from P. Kochikar to J. Rosenberg re Call script   November 8, 2023
14                     (07/19/2018)

15
     Exhibit 1519      Email from P. Kochikar to J. Rosenberg re Facebook      November 8, 2023
16                     Connect…er, Casual Connect (08/03/2013)
     Exhibit 1520      Email from P. Kochikar to A. Gutterman re Hi-po/hi-     November 8, 2023
17                     risk AAA/Indie Coverage (10/11/2018)
18
19   Exhibit 1522      Email from P. Kochikar to M. Theermann re risk          November 9, 2023
20                     (12/13/2019)
     Exhibit 1524      Slide deck titled “Games Velocity Program”              November 9, 2023
21                     (06/01/2021)
22   Exhibit 1526      Email from D. Harrison to P. Kochikar re Magical        November 8, 2023
                       Bridge TLDR (09/13/2019)
23
24   Exhibit 1530      Document titled “BC: Spotify Ltd. (BC22-006)”           November 9, 2023
                       (02/17/2022)
25   Exhibit 1532      Document titled “Google Play Better Together Program    November 21, 2023
                       Partnership (“Program”) Addendum to the Google Play
26
                       Developer Distribution Agreement” (06/14/2022)
27
28

                     JOINT CERTIFICATION OF COUNSEL REGARDING ADMITTED EXHIBITS
                                  Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
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 1     Exhibit No.                             Description                            Date Admitted
 2    Exhibit 1537       Email from P. Kochikar to S. Karam re A/C Privileged:       November 8, 2023
                         Update on Tinder / GPB (07/23/2019)
 3
 4    Exhibit 1545       Email from M. McCurdy to C. Li et al re FB Pre-             November 9, 2023
                         Installer Impacted by Android BD Outreach
 5
                         (03/02/2020)
 6
      Exhibit 1546       Document titled “Internal Briefing Document”                November 9, 2023
 7
                         (03/02/2020)
 8    Exhibit 1549       Email from P. Kochikar to S. Lee re Next Steps + A          November 9, 2023
                         Question (06/10/2020)
 9
10    Exhibit 1704       Slide deck titled “Advanced GPB” ( 11/04/2020)              November 8, 2023
11
      Exhibit 1710       Document titled “2022 planning 2-pager: GPB as              December 1, 2023
12                       Platform of Choice”
     Exhibit 1764***     Excel workbook titled “30(b)(6)” (02/12/2020)               November 15, 2023
13
14    Exhibit 1766       Slide deck titled “Android Consideration: Likely            November 15, 2023
                         Purchasers and Recent Purchasers”
15
16    Exhibit 1768       Slide deck titled “Android Brand Health” (06/00/2020)       November 15, 2023

17    Exhibit 1977       Email from A. Zerza to T. Sweeney re Interconnectivity      November 29, 2023
                         (07/27/2019)
18
      Exhibit 1978       Slide deck titled “Project Boston Overview”                 November 29, 2023
19                       (12/12/2019)
      Exhibit 1979       Slide deck titled “Google / [redacted] – Board Review       November 29, 2023
20                       of Enterprise Deal Proposals (01/00/2020)
21    Exhibit 1980       Document titled “Terms for Strategic Partnership”           November 29, 2023
                         (06/16/2021)
22
23    Exhibit 2050       Document titled “Google’s Updated Billing Proposal”         November 9, 2023
                         (09/29/2017)
24    Exhibit 2051       Document titled “The Case Against Google Play               November 9, 2023
                         Billing” (10/04/2017)
25    Exhibit 2052       Slide deck titled “Netflix & Google” (07/00/2018)           November 9, 2023
26   Exhibit 2054***     Untitled spreadsheet                                        November 9, 2023
      Exhibit 2062       Untitled table containing Third-party Payment Fees          November 21, 2023
27    Exhibit 2698       Slide deck titled “Project Everest - Options for Evolving   November 8, 2023
                         Play’s Business Model” (8/10/2021)
28

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 1     Exhibit No.                            Description                           Date Admitted
 2   Exhibit 2720***     Video of 2011 Chrome Keynote Presentation               November 14, 2023
 3
      Exhibit 2724       Email from A. Bishop to R. Roy-Chowdhury re Sync up     November 14, 2023
 4                       on Polycraft Chrome App (10/28/2013)
 5
 6    Exhibit 2726       Email from R. PC Gibson to Android Leadership re        November 14, 2023
                         Android Leadership 2013-04-16 (04/17/2013)
 7
 8    Exhibit 2728       Slide deck titled “Google Play Alphabet Board Update”   November 14, 2023
                         (07/15/2020)
 9
10    Exhibit 2731       Chat messages between S. Pichai and E. Singer           November 14, 2023
                         (10/12/2021)
11
      Exhibit 2903       Slide deck titled “Smartphone Purchase Journey 2018”    November 30, 2023
12                       (10/00/2018)
      Exhibit 5187       Document titled “Android Compatibility Commitment”      November 13, 2023
13                       (01/30/2012)
14    Exhibit 5255       Document titled “Mobile Application Distribution        November 13, 2023
                         Agreement (Android)” (03/30/2017)
15
16    Exhibit 5399       Document titled “Mobile Application Distribution        November 13, 2023
                         Agreement (MADA)” (01/01/2018)
17
      Exhibit 5488       Email from H. Lockheimer to T. Sweeney re Consumer      November 20, 2023
18                       Choice & Consumption (07/22/2020)
      Exhibit 5497       Email from T. Sweeney to P. Spencer re Apple            November 20, 2023
19                       (08/07/2020)
20    Exhibit 5504       Email from J. Rosenberg to T. Sweeney re Fortnite       November 20, 2023
                         Android launch plan (06/22/2018)
21
22    Exhibit 5509       Email from T. Sweeney to H. Lockheimer and J.           November 20, 2023
                         Rosenberg re Fortnite on Google Play (12/05/2019)
23
24
      Exhibit 5519       Email from P. Meegan to T. Sweeney et al. re            November 6, 2023
25                       Congratulations on Fortnite & Epic Games Launcher
                         (03/24/2018)
26
27    Exhibit 5520       Email from T. Sweeney to J. Rosenberg re Fortnite       November 20, 2023
                         Android launch plan (07/22/2018)
28

                       JOINT CERTIFICATION OF COUNSEL REGARDING ADMITTED EXHIBITS
                                    Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
                                                   10
         Case 3:21-md-02981-JD Document 888 Filed 12/21/23 Page 12 of 26




 1    Exhibit No.                             Description                            Date Admitted
 2   Exhibit 5528**     Slide deck titled “Project Liberty Update to the Board of   November 30, 2023
                        Directors (Draft)” (07/27/2020)
 3
 4    Exhibit 5530      Slide deck titled “Project Liberty Update” (07/01/2020)     November 20, 2023
 5
      Exhibit 5580      Email from S. Samat to J. Rosenberg re email                November 13, 2023
 6                      (06/08/2016)
     Exhibit 5641*      Slide deck titled “P&E Annual Plan Play Sandbox”            November 14, 2023
 7
                        (2021)
 8    Exhibit 5653      Slide deck titled “Lion Force Strategy: Pitch Document-     November 9, 2023
                        WIP” (06/00/2018)
 9
10    Exhibit 5666      Email from A. Pimplapure to A. Ludwig re We need to         November 14, 2023
                        improve Android Security (09/23/2015)
11
      Exhibit 5674      Slide deck titled “Subscriptions V2 Follow-Up”              November 13, 2023
12                      (07/31/2017)

13
      Exhibit 5696      Email from M. Theermann to M. Marchak re ABK xPA            November 9, 2023
14                      deal terms (12/06/2019)
      Exhibit 5714      Slide deck titled “Project Hug Update @ PPS”                November 9, 2023
15                      (06/19/2019)
16
      Exhibit 5718      Slide deck titled “Amazon Underground User                  November 8, 2023
17                      Experience” (11/00/2015)
18
      Exhibit 5734      Email from T. Sweeney to D. Harrison re Fortnite and        November 20, 2023
19                      Android follow-up (03/25/2020)
20    Exhibit 5735      Email from T. Sweeney to D. Harrison re Invitation –        November 20, 2023
                        Don Harrison & Tim Sweeney @ Mon Apr 13, 2020
21                      (04/10/2020)
      Exhibit 5809      Email from B. Barras to S. Karam re Value Exchange:         November 8, 2023
22                      Play/Google <-> Tinder/Match Group (06/07/2019)
23
      Exhibit 5816      Document titled “How Google Play Works: 2019                November 9, 2023
24                      Google Play Public Policy Report” (2019)
25
      Exhibit 5820      Email from S. Sayigh to Z. Levine et al. re Play            November 15, 2023
26                      Payment Policy -- Carrier Plan (12/05/2017)
27    Exhibit 5911      Slide deck titled “App Quality Gap 1. Initial thoughts &    November 9, 2023
                        learning plan” (2020)
28

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 1     Exhibit No.                             Description                           Date Admitted
 2    Exhibit 5921       Email from P. Kochikar to D. Harrison and L. Koh re        November 7, 2023
                         Fortnite on Google Play (12/10/2019)
 3
 4    Exhibit 5932       Slide deck titled “P&E Better Together First Draft”        November 14, 2023
                         (10/27/2020)
 5
     Exhibit 5941**      Slide deck titled “The Gen Z Effect: Tech, trends, and     November 9, 2023
 6                       truths for a new(er) generation” (04/03/2020)
 7
 8   Exhibit 5945**      Slide deck “Android Feature Audit” (04/02/2020)            November 15, 2023
 9
      Exhibit 5956       Email from J. Rosenberg to H. Lockheimer re TV             November 13, 2023
10                       (03/24/2015)
      Exhibit 5963       Slide deck titled “GMS apps on Low RAM - leadership        November 13, 2023
11
                         update” (05/25/2016)
12
      Exhibit 5973       Email from S. Karam to P. Kochikar re Sorry...             November 15, 2023
13                       (06/20/2018)
14    Exhibit 5996       Email from J. Rosenberg to S. Samat et al. re Time-        November 13, 2023
                         Sensitive: Subscriptions (05/28/2016)
15
16
      Exhibit 6044       Slide deck titled “Summaries of Individual Apps – 2020     November 9, 2023
17                       Q3” (11/05/2020)
18    Exhibit 6056       Slide deck titled “You Said What?! 10 Things to Ensure     November 7, 2023
                         You Are Communicating with Care”
19
20    Exhibit 6066       Email from J. Rosenberg to P. Bankhead et al. re Project   November 13, 2023
                         Banyan Update (07/12/2019)
21
22
23
24    Exhibit 6133       Email from S. Samat to E. Crosby re Samsung & Games        November 13, 2023
                         (02/07/2019)
25   Exhibit 6178**      Slide deck titled “Google Play Q3’ 21 Onboarding”          December 1, 2023
                         (08/20/2021)
26
      Exhibit 6190       Email from J. Dischler to D. Harrison re Tim Briefing      November 20, 2023
27                       Feedback (12/20/2018)
28   Exhibit 6288***     Video excerpts from 2020 Play & Friends All Hands          December 1, 2023
                         meeting
                       JOINT CERTIFICATION OF COUNSEL REGARDING ADMITTED EXHIBITS
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 1    Exhibit No.                           Description                           Date Admitted
 2   Exhibit 6390      Slide deck titled “Google Enterprise Deal Extension”    November 9, 2023
                       (08/24/2022)
 3
 4   Exhibit 6446*     Untitled document containing “Notes for Don”            November 13, 2023
                       (05/08/2019)
 5
     Exhibit 6454      Chat messages between T. McDowell and M. Lam            November 9, 2023
 6                     (11/09/2022)
     Exhibit 6461      Chat messages between O. Jan and D. Chandra             November 7, 2023
 7
                       (12/08/2022)
 8   Exhibit 6462      Chat messages between E. Young and M. Lam               November 9, 2023
                       (03/17/2022)
 9
     Exhibit 6464      Chat messages between M. Lam, M. Jayson and P.          November 9, 2023
10                     Ladhawala (02/16/2021)
     Exhibit 6465      Chat messages between K. Stolz and M. Lam               November 9, 2023
11
                       (03/21/2022)
12   Exhibit 6479      Chat messages between M. Lam and S. Walsh               November 9, 2023
                       (09/06/2022)
13
     Exhibit 6487      Chat messages between E. Garber and T. Ostrowski        November 9, 2023
14                     (01/26/2021)
     Exhibit 6488      Chat messages between E. Garber and T. Ostrowski        November 9, 2023
15                     (03/17/2022)
16
     Exhibit 6618      Web page titled “Play Fortnite on Android,” available   November 30, 2023
17                     at: https://www.fortnite.com/mobile/android
18
19
     Exhibit 6619      Web page titled “Fortnite Download,” available at:      November 30, 2023
20                     https://www.fortnite.com/mobile/android/new-device

21
22   Exhibit 6621      Web page titled “Play Fortnite on Mobile Devices,”      November 30, 2023
                       available at: https://www.fortnite.com/mobile
23
24
     Exhibit 6691      Web page titled “The apps you love. From a place you    December 1, 2023
25                     can trust,” available at: https://www.apple.com/app-
                       store/
26
27
28

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 1     Exhibit No.                            Description                           Date Admitted
 2   Exhibit 6695***     Video titled “Apple Makes Fun of Android #3,”           November 14, 2023
                         available at:
 3
                         https://www.youtube.com/watch?v=z1APG3HjO4Q
 4                       (04/22/2018)

 5
      Exhibit 6836       Email from J. Nunes to C. Oliver re Fwd: Google Play    December 1, 2023
 6                       competitive analysis (02/05/2019)
      Exhibit 6839       Email from A. Rofman to C. Oliver re Google now lets    December 1, 2023
 7                       apps display sale price in the Play Store – The Verge
                         (02/28/2017)
 8
      Exhibit 6840       Email from N. Sebastiani to C. Oliver re Google Play    December 1, 2023
 9                       Pass, Apple Arcade will spar for mobile gamers –
                         Quartz (09/17/2019)
10    Exhibit 6845       Email from M. Fischer to S. McGuigan re Google Play     December 1, 2023
                         Store shows on the streaming apps that have the movie
11                       or show you’re searching for (09/17/2019)
12    Exhibit 6848       Email from D. Hopkins to C. Oliver re Google Play now   December 1, 2023
                         lets Android app developers see review highlights,
13                       rating charts | VentureBeat | Dev | by Jordan Novet
                         (03/02/2016)
14    Exhibit 6849       Email from R. Olson to J. Goodrum re Google Play        December 1, 2023
                         Console – Data Benchmark Enhancements (05/30/2019)
15
      Exhibit 6853       Email from C. Oliver to J. Ng re Content Price          December 1, 2023
16                       Comparison (11/28/2017)
      Exhibit 6903       Summary exhibit titled “Operating System Shares Based   November 27, 2023
17                       on Smartphone Sales by Region”
18
      Exhibit 6924       Summary exhibit titled “Operating System Shares Based   November 27, 2023
19                       on Smartphone Sales by Region”
20
      Exhibit 6931       Summary exhibit titled “Native App and Web App          November 27, 2023
21                       Share of Total Minutes Among 14 App Categories With
                         Most Total App Minutes on US Android Smartphones,
22
                         May 2022”
23
24    Exhibit 6932       Summary exhibit titled “Third-Party Smartphone          November 27, 2023
                         Operating System Unit Shares, Based on Number of
25                       Smartphone Unit Sales”

26
      Exhibit 6940       Summary exhibit titled “Shares of App Entitlements on   November 27, 2023
27                       Google Android Devices, Worldwide (Excluding
                         China)”
28

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 1   Exhibit No.                            Description                          Date Admitted
 2   Exhibit 6941     Summary exhibit titled “Third-Party App Store Shares   November 27, 2023
                      of App Entitlements on Google Android Devices,
 3
                      Worldwide (Excluding China)”
 4
 5
     Exhibit 6950     Summary exhibit titled “Google Play Revenue and        November 27, 2023
 6                    Profit by Year, Worldwide, 2011–2021”

 7
     Exhibit 6952     Summary exhibit titled ‘Difference Between Average     November 27, 2023
 8                    Android and iOS Smartphone Price, 2009-2021,
                      Worldwide (Excluding China)”
 9
10
     Exhibit 6956     Summary exhibit titled “Google Play Historical         November 27, 2023
11                    Operating Results 2011-2021”
12
     Exhibit 6989     Summary exhibit titled “Active RSA 3.0 Premier or      November 28, 2023
13                    MIA Devices and Active Android Devices That Are Not
14                    RSA 3.0 Premier or MIA Devices United States”

15
16   Exhibit 6991     Summary exhibit titled “Active RSA 3.0 Premier or      November 28, 2023
                      MIA Devices and Active Android Devices That Are Not
17                    RSA 3.0 Premier or MIA Devices Worldwide (excl.
                      China)”
18
19   Exhibit 6993     Summary exhibit titled “Android Devices with a         November 28, 2023
                      Preinstalled Alternative App Store (United States)”
20
21   Exhibit 6994     Summary exhibit titled “Android Devices with a         November 28, 2023
                      Preinstalled Alternative App Store Worldwide, excl.
22
                      China”
23   Exhibit 7002     Summary exhibit titled “Epic Revenue From All          November 28, 2023
                      Fortnite Players By Device Type United States”
24
25   Exhibit 7006     Summary exhibit titled “Epic Revenue From Android      November 28, 2023
                      Fortnite Players By Device Type United States”
26
27   Exhibit 7008     Summary exhibit titled “Epic Revenue From Android      November 28, 2023
                      Fortnite Players By Device Type Worldwide (excl.
28                    China)”
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 1   Exhibit No.                           Description                           Date Admitted
 2   Exhibit 7011     Summary exhibit titled “Worldwide Smartphone and       November 28, 2023
                      Feature Phones Sales by Operating System (U.S.
 3
                      Dollars)”
 4
 5
     Exhibit 7020     Summary exhibit titled “Gross Revenue and Active       November 28, 2023
 6                    Users from Fortnite on iOS and Android – Weekly
                      Gross Revenue from Fortnite”
 7
 8
     Exhibit 7028     Summary exhibit titled “Worldwide Android              November 28, 2023
 9
                      Smartphone Sales”
10
     Exhibit 7031     Summary exhibit titled “Worldwide App Developer        November 28, 2023
11                    Revenue”
12
     Exhibit 7073     Summary exhibit titled “Share of Active GMS Devices    November 28, 2023
13                    and Fortnite Compatible Active GMS Devices by RSA
14                    Type”

15
16   Exhibit 7079     Summary exhibit titled “Share of Active GMS Devices    November 28, 2023
                      and Fortnite Compatible Active GMS Devices by RSA
17                    Type”
18   Exhibit 7089     Summary exhibit titled “Share of Active Devices That   November 28, 2023
                      Are Premier Tier of MIA Devices, Worldwide
19                    (Excluding China)”
20
21   Exhibit 7090     Summary exhibit titled “Share of Active Devices That   November 28, 2023
                      Are Premier Tier of MIA Devices, United States”
22
23
24   Exhibit 7095     Summary exhibit titled “Share of New Apps That Pay     November 28, 2023
                      Service Fees”
25
     Exhibit 7102     Summary exhibit titled “Share of App Developer         November 28, 2023
26
                      Revenue (User Spend) In Google Play by Monetization
27                    Type”

28

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 1   Exhibit No.                            Description                          Date Admitted
 2   Exhibit 7114     Summary exhibit titled “Share of U.S. Active GMS          November 28, 2023
                      Devices by RSA Type”
 3
 4   Exhibit 7115     Summary exhibit titled “Premier Tier Share of GMS         November 28, 2023
                      Device Activations, United States”
 5
 6
     Exhibit 7178     Summary exhibit titled “Number of App Installations       November 28, 2023
 7
                      from Alternative Sources (United States)”
 8
     Exhibit 7179     Summary exhibit titled “Number of App Installations       November 28, 2023
 9
                      from Alternative Sources Worldwide (excl. China)”
10
     Exhibit 7260     Email from M. Weissinger re Fortnite going big            November 30, 2023
11                    (5/15/2020)
12   Exhibit 8004     Email from T. Sweeney to P. Spencer (03/08/208)           November 20, 2023

13
     Exhibit 8005     Email from P. Rosenberg to T. Sweeney re Fortnite         November 20, 2023
14                    interoperability and esports (06/02/2018)

15
16   Exhibit 8009     Web page titled “Man-in-the-Disk: A New Attack            November 15, 2023
                      Surface for Android Apps,” available at:
17                    https://blog.checkpoint.com/security/man-in-the-disk-a-
                      new-attack-surface-for-android-apps/
18
19
20   Exhibit 8019     Email from D. Harrison to R. Porat et al. re Activision   November 20, 2023
                      Blizzard deal for Dec 19 BC Review (12/16/2019)
21
22   Exhibit 8020     Chats between M. Lam and M. Mackey et al.                 November 9, 2023
                      (09/22/2021)
23   Exhibit 8021     Chats between E. Young and M. Lam (03/17/2022)            November 9, 2023
24
     Exhibit 8022     Web page titled “Developer Program Policy” (effective     November 6, 2023
25                    08/31/2023)
26
     Exhibit 8024     Chats between S. Lu and M. Lam (01/13/2021)               November 9, 2023
27
28   Exhibit 8025     Slide deck titled “Play Payments Policy” (06/17/2020)     November 9, 2023

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 1     Exhibit No.                             Description                           Date Admitted
 2    Exhibit 8028       Screenshot titled “Only 14 days left on your free trial!   November 6, 2023
                         Get unlimited access to all Down Dog apps”
 3
      Exhibit 8029       Document titled “Google Play Developer Program             November 13, 2023
 4                       Policies” (06/24/2014)
      Exhibit 8030       Email from M. Drake to B. Coughran and K. Walker re        November 14, 2023
 5                       [Googlers] Business communication is a complicated
 6                       word (09/16/2008)
      Exhibit 8033       Email from K. Rasanen re Activity Report, January 29 -     November 15, 2023
 7                       February 16, Play Apps BD (02/20/2018)

 8
      Exhibit 8045       Screenshot of purchasing V-Bucks on Android device         November 20, 2023
 9
     Exhibit 8054***     Video titled “The Uncertain Internet: Core Values for      November 29, 2023
10                       the Next Administration”
11    Exhibit 8519       Slide deck titled “Ecosystem Enablement –: Increase the    November 9, 2023
                         value of Play to Android Developers” (1/00/2020)
12    Exhibit 8520       Document titled “Final Themes for BD Planning”             November 9, 2023
      Exhibit 8522       Slide Deck titled “Play + Cloud Credit Program             November 9, 2023
13
                         Proposal (Project Hug)” (03/00/2019)
14    Exhibit 8523       Slide Deck titled “Project Banyan Phase 1: Ecosystem       November 9, 2023
                         Overview” (02/00/2019)
15
16    Exhibit 8526       Email from K. Rasanen to J. Rosenberg et al. re            November 9, 2023
                         [Meeting Summary] Play Payment Policy (03/24/2018)
17
18    Exhibit 8539       Email from K. Rasanen to S. Shih et al. re KR              November 15, 2023
                         Impressions of India [Long Read] (08/01/2018)
19
20    Exhibit 8554       Email from K. Rasanen to P. Feng et al. re Link in-app     November 15, 2023
                         actions to rewards on Tez (03/30/2018)
21
      Exhibit 8555       Email from S. Sayigh to T. Arzu et al. re Reviewing the    November 15, 2023
22
                         YT payment flow as part of the policy work
23                       (10/02/2017)

24
      Exhibit 8564       Text message chat involving J. Kim (08/09/2018)            November 13, 2023
25    Exhibit 8567       Email from M. Petrillo to J. Rosenberg et al. re Time-     November 30, 2023
                         Sensitive: Subscriptions (06/03/2016)
26
27    Exhibit 8568       Chung Eui-Suk chat (08/09/2018)                            November 13, 2023

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 1     Exhibit No.                             Description                          Date Admitted
 2   Exhibit 8573**      Slide deck titled “Google Play Q2 18 Onboarding Day       November 15, 2023
                         1”
 3
 4    Exhibit 8574       Document titled “Netflix/Google exec meeting Internal     November 15, 2023
                         Brief”
 5
      Exhibit 8576       Email from E. Cunningham to P. Kochikar et al. re         November 15, 2023
 6                       Vulnerability report: Fortnite Installer downloads on
                         ANdroid are vulnerable to hijacking (08/15/2018)
 7
 8
      Exhibit 8591       Web page titled “Download & install Google Chrome”        November 15, 2023
 9
10    Exhibit 8594       Chat messages between T. Lim, D. Menon, K.                December 1, 2023
                         Vitaldevara, G. Hartrell, P. Feng and M. Loew
11                       (08/20/2021)
12    Exhibit 8613       Email from D. Jackson to C. Smith et al. re FYI: Epic /   November 20, 2023
                         Google Play (01/09/2020)
13
      Exhibit 8636       Email from E. Crosby to A. Cheng et al. re [Meeting       November 30, 2023
14
                         Notes & ALS] PPS - Subscriptions 3/8 + 3/9
15                       (3/10/2017)

16
      Exhibit 9001       Chat messages between T. Randall and S. Allison           November 6, 2023
17                       (08/11/2020)
      Exhibit 9016       Email from T. Sweeney to P. Spencer re Subscription-      November 20, 2023
18
                         free multiplayer (08/05/2020)
19   Exhibit 9051***     Video titled “Kleidermacher Demonstrative 1”              November 15, 2023
     Exhibit 9052***     Video titled “Kleidermacher Demonstrative 2”              November 15, 2023
20
     Exhibit 9053***     Video titled “Kleidermacher Demonstrative 3”              November 15, 2023
21    Exhibit 9200       Email from TM Roh to T. Sweeney et al. re Fortnite on     November 20, 2023
                         Google Play and future Samsung Pay efforts
22                       (05/06/2020)
23
      Exhibit 9500       Demonstrative titled “Testimony of Gregory K.             December 1, 2023
24                       Leonard, Ph.D”
25
26
      Exhibit 9708       Summary Exhibit titled “Worldwide Android                 November 28, 2023
27                       Smartphone Prices”
      Exhibit 9900       C. Oliver Tweet (09/07/2016)                              December 1, 2023
28

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 1    Exhibit No.                            Description                          Date Admitted
 2   Exhibit 10002     Website titled “Google Chat Retention FAQs”              November 7, 2023
                       (10/01/2021)
 3
 4   Exhibit 10004     Web page titled “Fortnite on Android Launch Technical    November 30, 2023
                       Blog” (09/06/2018)
 5
 6   Exhibit 10005     Email from J. Sargent to A. Grant re what services are   November 30, 2023
                       we NOT using from Google Play? (08/15/2019)
 7
 8
     Exhibit 10010     Chat messages between T. Stone and A. Grant              November 30, 2023
 9
                       (07/29/2020)
10   Exhibit 10018     Email from E. Zobrist to L. Koh re Follow up to our      November 7, 2023
                       Google Meet chat (04/11/2020)
11
     Exhibit 10020     Email from D. Song to L. Koh re Thank you                November 7, 2023
12                     (04/21/2020)
     Exhibit 10026     Email from T. Sweeney to H. Lockheimer re Fortnite on    November 20, 2023
13                     Google Play (01/13/2020)
14   Exhibit 10028     Email from D. Song to L. Koh re Thank you                November 30, 2023
                       (04/21/2020)
15
     Exhibit 10104     Document titled “Example of ‘1:1’ Chat”                  November 7, 2023
16   Exhibit 10171     Chat messages between A. Shobin and H. Stolfus           November 30, 2023
                       (04/28/2020)
17
     Exhibit 10184     Slide deck titled “Fortnite Mobile: Mobile Business      November 30, 2023
18                     Update/Deep Dive”

19
     Exhibit 10193     Email from H. Stolfus to L. Koh re Follow up to our      November 30, 2023
20                     Google Meet chat (04/15/2020)
     Exhibit 10194     Email from H. Stolfus to E. Zobrist re Heads up          November 30, 2023
21                     (04/23/2020)
22   Exhibit 10196     Chat messages between E. Zobrist and H. Stolfus          November 30, 2023
                       (04/30/2020)
23   Exhibit 10198     Email from M. Weissinger to H. Stolfus re The Why        November 30, 2023
24                     (07/17/2020)
     Exhibit 10521     Slide deck titled “Fortnite Mobile: Mobile Business      November 30, 2023
25                     Update/Deep Dive”
26
     Exhibit 10538     Email from D. Shaw to T. Sweeney et al. re xCloud        November 30, 2023
27                     (10/06/2021)
28   Exhibit 10540     Email from A. Grant to undisclosed recipients re         November 30, 2023
                       Fortnite Releases on xCloud Tomorrow! (05/05/2022)
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 1     Exhibit No.                             Description                           Date Admitted
 2    Exhibit 10677       Email from D. Wallerstein to J. Babcock re Epic Board     November 20, 2023
                          Report 2Q19 and 2018 Annual Audited Financial
 3
                          Statements (Internet mail) (05/11/2019)
 4    Exhibit 10684       Email from T. Sweeney to M. Rein re Apple/Google          November 20, 2023
                          approach (attorney client privilege) (05/11/2020)
 5    Exhibit 10692       Spreadsheet titled “Epic Games Non-GAAP                   December 1, 2023
 6                        Consolidated Financials” (12/31/2021)

 7   Exhibit 10694***     Spreadsheet titled “Epic Games, Detailed Consolidated     December 1, 2023
                          P&L (Overhaul & Non-GAAP)” (02/02/2021)
 8
 9
10    Exhibit 10708       Email from R. Gelber to D. Wallerstein re (Internet       December 1, 2023
                          mail) (09/30/2020)
11    Exhibit 10811       Email from T. Sweeney to A. Zerza re Interconnectivity    November 29, 2023
                          (06/29/2019)
12
      Exhibit 10883        Google Play Developer Distribution Agreement             November 9, 2023
13                        (11/17/2020)
14
      Exhibit 10928       Email from A. Ong to P. Kochikar, B. Barras re Sorry...   November 9, 2023
15                        (06/19/2018)
      Exhibit 11110       Document titled “Tinder Play Value Estimate”              November 8, 2023
16
17    Exhibit 11221       Slide deck titled “Mobile Distribution” (12/00/2018)      November 29, 2023
18
      Exhibit 11222       Document titled “Self-Publishing Games -                  November 29, 2023
19                        Circumventing Google Play”

20
      Exhibit 11226       Document titled “Nicolo:Jarred Agenda” (01/30/2019)       November 29, 2023
21
      Exhibit 11227       Slide deck titled “Google Velocity Deal” (02/04/2020)     November 29, 2023
22
23    Exhibit 11229       Email from S. O’Donnell to N. Laurent re [Singing         November 29, 2023
                          Session] Non-Coupa, Credits Contract: Google, Inc.
24                        (RGI) – Google Velocity P, GCP, and AC Addendums
                          (03/09/2020)
25
      Exhibit 11370       Slide deck titled “MagicLab: 2020 Q1 Board Meeting:       November 8, 2023
26                        Buzz Holdings GP LLC, Worldwide Vision Ltd
                          (05/14/2020)
27    Exhibit 11373       Slide deck titled “Tilting Point – Google – Annual        December 1, 2023
                          Recap (01/27/2022)
28

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 1       Exhibit No.                                Description                             Date Admitted
 2      Exhibit 11405       Document titled “US Amazon Appstore – Consumer                November 20, 2023
                            Q1-13 Program Summary (04/23/2013)
 3
        Exhibit 11406       Document titled “2021 Appstore Experience Final               November 20, 2023
 4                          Review”

 5
        Exhibit 11408       Web page titled “How to Sideload Apps onto Your               November 20, 2023
 6                          Amazon Fire Tablet” (03/02/2022)

 7      Exhibit 11409       Demonstrative titled “Developer Concerns”                     November 15, 2023
 8
 9   * The Court has permitted the Parties to file Exhibit 433, Exhibit 436, Exhibit 1390, Exhibit 1492 and

10   Exhibit 5641 in excerpted form. See Trial Tr. 3297:17-3300:20. Exhibit 6446 was inadvertently

11   omitted from the list of exhibits that Google requested to file in excerpted form. Epic does not object

12   to Google’s request to file excerpts of this document. All of these exhibits were admitted into evidence

13   in their entirety, and complete, unexcerpted copies were provided to the Court and jury. The Parties

14   agree that the entirety of these exhibits—and not just the excerpted pages—are part of the record and

15   may be used in any further proceedings or on appeal.

16   ** The Court admitted portions of Exhibit 5528, Exhibit 5941, Exhibit 5945, Exhibit 6178 and

17   Exhibit 8573. For these exhibits, the Parties have filed just the portions that were admitted into

18   evidence.

19   *** Exhibit 428, Exhibit 440, Exhibit 1363, Exhibit 1764, Exhibit 2054, Exhibit 2720, Exhibit 6288,

20   Exhibit 6695, Exhibit 8054, Exhibit 9051, Exhibit 9052, Exhibit 9053 and Exhibit 10694 could not be

21   filed electronically in their native form. Copies of these exhibits in their native forms are being

22   maintained in the case file in the Clerk’s office.

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                          JOINT CERTIFICATION OF COUNSEL REGARDING ADMITTED EXHIBITS
                                       Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
                                                          22
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 1   DATED: December 21, 2023              CRAVATH, SWAINE & MOORE LLP
                                             Christine Varney (pro hac vice)
 2                                           cvarney@cravath.com
                                             Gary A. Bornstein (pro hac vice)
 3                                           gbornstein@cravath.com
                                             Timothy G. Cameron (pro hac vice)
 4                                           tcameron@cravath.com
                                             Yonatan Even (pro hac vice)
 5                                           yeven@cravath.com
                                             Lauren A. Moskowitz (pro hac vice)
 6                                           lmoskowitz@cravath.com
                                             Justin C. Clarke (pro hac vice)
 7                                           jcclarke@cravath.com
                                             Michael J. Zaken (pro hac vice)
 8                                           mzaken@cravath.com
                                             M. Brent Byars (pro hac vice)
 9                                           mbyars@cravath.com
10                                         FAEGRE DRINKER BIDDLE & REATH LLP
                                             Paul J. Riehle (SBN 115199)
11
                                           Respectfully submitted,
12
                                           By: /s/ Gary A. Bornstein
13                                            Gary A. Bornstein
14   DATED: December 21, 2023               MORGAN, LEWIS & BOCKIUS LLP
                                              Brian C. Rocca
15                                            Sujal J. Shah
                                              Minna L. Naranjo
16                                            Rishi P. Satia
                                              Michelle Park Chiu
17
18
19                                          By:    /s/ Brian C. Rocca
20                                                 Brian C. Rocca

21                                          Counsel for Defendants Google LLC et al.

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                     JOINT CERTIFICATION OF COUNSEL REGARDING ADMITTED EXHIBITS
                                  Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
                                                  23
          Case 3:21-md-02981-JD Document 888 Filed 12/21/23 Page 25 of 26




 1   DATED: December 21, 2023              MUNGER, TOLLES & OLSON LLP
                                             Glenn D. Pomerantz
 2                                           Kyle W. Mach
                                             Kuruvilla Olasa
 3                                           Justin P. Raphael
                                             Emily C. Curran-Huberty
 4                                           Jonathan I. Kravis

 5                                         Respectfully submitted,
 6
 7                                       By:   /s/ Glenn D. Pomerantz
                                                  Glenn D. Pomerantz
 8
                                           Counsel for Defendants Google LLC et al.
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                                               24
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 1                                         E-FILING ATTESTATION

 2          I, Gary A. Bornstein, am the ECF User whose ID and password are being used to file this
 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories
 4   identified above has concurred in this filing.
 5
 6                                                       /s/ Gary A. Bornstein
                                                         Gary A. Bornstein
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                          JOINT CERTIFICATION OF COUNSEL REGARDING ADMITTED EXHIBITS
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